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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW JERSEY


      IN RE: JOHNSON & JOHNSON
      TALCUM POWDER PRODUCTS
      MARKETING, SALES
      PRACTICES, AND PRODUCTS
      LIABILITY LITIGATION
                                           MDL No. 16-2738 (MAS) (RLS)

      THIS DOCUMENT RELATES TO
      ALL CASES




          THE PLAINTIFFS’ STEERING COMMITTEE’S REPLY TO
         DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFFS’
       REQUEST FOR ORDER COMPELLING PRODUCTION OF EXPERT
                         WITNESS INVOICES
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                                    INTRODUCTION

          The Plaintiffs’ Steering Committee (PSC) submits this Reply in Support of

    its Motion for an Order compelling Defendants to produce invoices from their

    experts for work performed on non-MDL cases involving Johnson & Johnson’s

    talcum powder.1 These invoices, not currently available to the PSC, are relevant to

    bias and credibility.

          In their Opposition, Defendants claim that because the PSC has not

    produced invoices from the PSC’s experts for non-MDL work, the PSC is seeking

    to make an “apples-to-oranges comparison that makes defense experts seem far

    more highly compensated – and biased – than Plaintiffs’ experts.” (Opp. at 2.) This

    is a red herring. Because Defendants are also named in non-MDL actions, they

    have already been served Plaintiffs’ experts’ invoices through discovery in the

    non-MDL cases.2



    1
      In Footnote 2 of their Opposition, “Defendants object to the PSC’s request as
    procedurally improper.” (Defs.’ Opp. at 1.) Since filing the Letter, the Court has
    ordered the parties to meet and confer and submit briefing on the issue. (ECF No.
    33077.) Therefore, the PSC submits that this argument is moot given the current
    procedural standing. However, if the Court is so inclined, the PSC will happily
    resubmit the request as a formal motion.
    2
      Member firms of the PSC are not involved in all non-MDL cases, and therefore
    the PSC does not have access to the same information as J&J in these cases. As a
    party for the purposes of discovery, the PSC does not have possession, custody, or
    control of all invoices produced by experts in non-MDL cases.
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          On the other hand, the PSC only has access to Defendants’ expert invoices

    produced for MDL work. So, contrary to Defendants’ arguments that the discovery

    requested would be “one-sided” or “asymmetric,” it would actually level the

    playing field. Without relief, J&J will have access to all compensation for a

    Plaintiffs’ expert, but the PSC will only know the amounts paid to a defense expert

    in the MDL. For example, the PSC may only be able to establish payment of

    $50,000 in the MDL, when in fact the expert has earned more than $1,000,000 in

    the overall litigation testifying for Defendants. This information is important

    evidence to demonstrate potential bias.

          In making this request for non-MDL invoices, the PSC simply seeks access to

    similar information on Defendants’ experts, which Defendants already have for

    Plaintiffs’ experts. Defendant’s “one-sided apples-to-oranges” argument completely

    misses the mark.3

          Here, Plaintiffs are entitled to copies of invoices submitted by J&J’s experts

    to J&J for expert work relating to all J&J talc cases filed in federal and state court

    that allege injuries for ovarian cancer and mesothelioma as a result of using J&J’s


    3
      Defendants complain specifically about Dr. Longo in their Opposition, claiming
    that they don’t have information about his payments for non-MDL cases. Again,
    because Defendants were named in all the non-MDL cases in which Dr. Longo
    testified concerning Johnson & Johnson’s talcum powder products, the Defendants
    would already have the information from those non-MDL cases. For many of these
    cases, PSC member firms are not involved and therefore the PSC does not have
    access to this information.
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    talcum powder products.4 The amount of compensation paid by J&J to its experts

    in this and related litigation is relevant to demonstrate potential bias or financial

    interest and could be used for impeachment purposes.

                                       ARGUMENT

          Excluding Defendants’ deflections concerning the PSC’s document

    production, Defendants advance two arguments in their Opposition: (1) the

    discovery of Defendants’ experts’ non-MDL invoices is not proportional to the

    needs of the case; and (2) the cases cited by the PSC do not support the PSC’s

    position. Defendants are wrong on both points.

    I.    Discovery of Defendants’ experts’ talc-related invoices is relevant and
          proportional to the needs of the case.

          As Defendants correctly note, “[p]arties may obtain discovery regarding any

    nonprivileged matter that is relevant to any party’s claim or defense and

    proportional to the needs of the case.” Fed. R. Civ. P. 26(b)(1). In their Opposition,

    Defendants do not argue that their experts’ invoices are irrelevant, thereby




    4
      It is the PSC’s understanding that certain of Defendants’ experts have testified in
    talc-related cases not involving J&J. The PSC does not seek information related to
    these cases, only those cases in which J&J’s talcum powder products are at issue.
                                              3
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    conceding that issue. Rather, Defendants hinge their entire argument on

    proportionality.

          Federal Rule of Civil Procedure 26(b)(1) requires the consideration of

    certain factors for proportionality, which will be discussed in turn below. Despite

    paying lip service to these factors in their Opposition, Defendants fail to provide a

    fulsome discussion of each one of the factors and their applicability to the

    discovery requested.

             (1) “the importance of the issues at stake in the action”:

                 There is no doubt that the issues regarding the safety of
                 talcum powder and its association with ovarian cancer are
                 significant. Plaintiffs claim that the products
                 manufactured by Defendants caused their ovarian cancer,
                 a highly aggressive and deadly cancer. Defendants do not
                 argue that the issues in this case are unimportant.

             (2) “the amount in controversy”:

                 Because of the injuries involved in these cases, the amount
                 in controversy is enormous. Medical expenses alone for
                 the treatment of ovarian cancer can amount to hundreds of
                 thousands of dollars, sometimes exceeding a million
                 dollars in cases with multiple recurrences requiring
                 multiple surgeries and rounds of chemotherapy and other
                 therapies. Again, Defendants do not argue the amount in
                 controversy is insufficient to warrant the discovery.

             (3) “the parties’ relative access to relevant information”:

                 Clearly, the Defendants have easy access to the
                 information requested. The PSC has requested invoices
                 from Defendants’ experts that the Defendants would have
                 produced for those experts in non-MDL J&J talc-related
                                              4
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                cases. The information sought is easily accessible by
                Defendants.

             (4) “the parties’ resources”:

                There is no reasonable argument to be made that the
                Defendants do not have sufficient resources to handle the
                production of this discovery. Johnson & Johnson is one of
                the largest companies in the world, with more than
                sufficient resources to handle a simple document
                production. Moreover, the documents sought in terms of
                volume are miniscule in comparison to liability documents
                previously produced in the litigation.

             (5) “the importance of the discovery in resolving the
                 issues”:

                Expert testimony is central to the causation and liability
                issues in this case. Information concerning payments to
                Defendants’ experts is critically important. The discovery
                requested is proportional and relevant to demonstrate
                potential bias or financial interest and may be used for
                impeachment purposes. Defendants’ Opposition does not
                directly address the importance of the discovery.

             (6) “whether the burden or expense of the proposed
                 discovery outweighs its likely benefit[]”:

                Defendants appear to put all their eggs in this basket.
                Defendants fail to adequately advance their position that it
                would be too burdensome or expensive to produce these
                documents. There is barely a reference in their brief
                devoted to explaining that it would “impose a burden on
                Defendants to collect, redact, and produce invoices in
                myriad cases…” (Defs.’ Opp. at 9.) Tellingly, Defendants
                have previously produced these invoices in non-MDL
                proceedings and fail to provide persuasive argument why
                they should not be required to reproduce these invoices in
                the MDL proceedings. Any document production
                necessarily requires considerations of collection,
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                 redaction, and production. Without offering more,
                 Defendants should not be able to claim burden, especially
                 when the information has been produced in the past and
                 the benefit of this discovery is clear.

    Fed. R. Civ. P. 26(b)(1).

          Considering all of these factors, it’s clear that the PSC is entitled to

    discovery of Defendants’ experts’ invoices for all non-MDL talcum powder cases.

    Again, although Defendants quoted these factors, they did not provide the Court

    with a full analysis that would provide the Court with sufficient reasons to deny

    the discovery requested.

          The limited cases cited by Defendants are clearly distinguishable and do not

    support their arguments.

          In Behler v. Hanlon, the plaintiff sought “the total income earned by [the

    expert] for the last five years, the amount thereof earned providing defense Rule 35

    examinations, records relating to the hours spent by [the expert] in this capacity,

    copies of his tax returns, and a listing of all insurance companies with whom he is

    affiliated, as well as a listing of all cases in which he has provided expert services.”

    Behler v. Hanlon, 199 F.R.D. 553, 561 (D. Md. 2001). The PSC is not requesting

    anywhere near as much from Defendants’ experts compared to what the plaintiff in

    Behler was requesting. And ultimately, the court in Behler did in fact allow

    discovery on the expert’s finances.



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       Another case cited by Defendants, Young v. Pleasant Valley, is clearly

 distinguishable. In Young, the plaintiff sought information “regarding [the expert’s]

 annual earnings for testifying as an expert . . . .” Young v. Pleasant Valley Sch.

 Dist., No. 3:07-CV-854, 2011 U.S. Dist. LEXIS 93151, at *1 (M.D. Pa. Aug. 18,

 2011). Ultimately, the court in Young ruled that this information was not

 discoverable on the grounds that the information was not relevant, rather than not

 proportional: “In the absence of any clear showing of relevance or necessity of the

 requested information, the Court is convinced that the financial information

 requested by Plaintiffs is ‘overkill.’” Id. at *6 (citing Behler, 199 F.R.D. at 561-

 562). Here, the PSC has demonstrated the relevance of the experts’ invoices, and

 Defendants have not disputed their relevance.

       Reed v. Cline, another case cited by Defendants, does not help their

 arguments either. Similar to Young, the defendant in Reed sought information

 about the expert’s “gross salary” and “consulting income[.]” Reed v. Cline, No.

 1:08-cv-473-SEB-TAB, 2010 U.S. Dist. LEXIS 101816, at *1 (S.D. Ind. Sep. 24,

 2010). This is not the situation here and therefore the Reed case does not provide

 any support for Defendants’ arguments.

       Lastly, McCracken v. DePuy addressed admissibility of evidence at trial, not

 whether the information was discoverable. No. 11 DP 20485, 2013 WL 12141334




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 (N.D. Ohio July 26, 2013). As a result, this case does not offer any value to the

 court here.

       “The scope of discovery in a federal action has been described as

 ‘unquestionably broad.’” United States v. Nobel Learning Cmtys., 329 F.R.D. 524,

 527 (D.N.J. 2018) (citing Bayer AG v. Betachem, Inc., 173 F.3d 188, 191 (3d Cir.

 1999)). Here, Defendants have not provided any compelling reason to limit the

 broad scope of discovery.

 II.   The caselaw cited by the PSC supports the position that the non-MDL
       invoices should be produced.

       In their Opposition, Defendants strain to distinguish the caselaw to support

 their arguments. This is evidenced by Defendants choice to discuss only two of the

 cases cited by Plaintiffs: First Choice Armor & Equipment, Inc. v. Toyobo Am.,

 Inc. and Good v. FirstEnergy Corp.

       In First Choice, the court denied defendant’s request for a protective order

 and held that compensation paid by defendants to its experts in that case and

 related cases since 2003 was relevant to demonstrate possible bias. First Choice

 Armor & Equip., Inc. v. Toyobo Am., Inc., 273 F.R.D. 360, 361 (D. Mass. 2011).

 The court in First Choice also stated that “some court[s] allow discovery into an

 expert’s compensation in related cases or by a particular party over a specified

 period of time on the ground that such information is relevant to the expert’s

 credibility and possible bias.” Id. (citing case from the Eastern District of
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 Louisiana and the Southern District of New York). Defendants do nothing to

 distinguish these propositions or advance any argument that the discovery

 requested by the PSC is off-limits.

       Turning to Good, Defendants apparently chastise the PSC for not discussing

 a case cited by the Court in Good: Bridges v. O’Hearn, No. 3:10-cv-1065, 2012

 U.S. Dist. LEXIS 6910 (M.D. Pa. Jan. 20, 2012). Bridges, however, dealt with

 admissibility of testimony concerning fees received by experts in the case under

 Fed. R. Evid. 403. The Bridges court explicitly explained that “fees that the experts

 receive may be relevant to establish bias and may affect the manner in which the

 jury views the witnesses’s credibility.” Id. at *9. So in Bridges, the discovery had

 already been produced, and the court was simply ruling on whether the parties

 could delve into that information during examination at trial. The PSC is not

 asking for a ruling on admissibility at this point, only for the opportunity to obtain

 and evaluate the requested discovery. The Defendants are welcome to object to the

 evidence if presented at trial and be afforded the opportunity to have the Court

 address its admissibility.

       Defendants make no attempt to distinguish Smith v. Transducer Tech., Inc.,

 in which the court explained that “[t]he courts have held that the amount of income

 derived from services related to testifying as an expert witness is relevant to show

 bias or financial interest.” Smith v. Transducer Tech. Inc., 2000 U.S. Dist. LEXIS


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 17217, at *4 (D.V.I. Nov. 16, 2000). Nor do they attempt to distinguish Bello v.

 Horace Mann Cos., 2010 U.S. Dist. LEXIS 165785, at *6 (E.D. La. Mar. 11, 2010)

 (“the financial relationship between a party and an expert witness is relevant to

 show bias.”) or a number of other cases cited by Plaintiffs in which courts found

 the information to be relevant to the issue of bias. Defendants attempt to

 distinguish these cases and argue they “focus[] on trial admissibility rather than on

 discoverability[.]” (Defs.’ Opp. at 10.) This argument is misplaced. In cases where

 the court is asked to focus on admissibility, the information had already been

 produced in discovery.

                                   CONCLUSION

       For all these reasons, the Court should order the Defendants to produce all

 invoices from their experts related to non-MDL talcum powder cases.



 Dated:       September 4, 2024                Respectfully submitted,

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                          CERTIFICATE OF SERVICE

       I hereby certify that on September 4, 2024, I electronically filed the

 foregoing document with the Clerk of the Court using the CM/ECF system which

 will send notification of such filing to the CM/ECF participants registered to

 receive services in this MDL.

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